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                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          *
                                                  *
                       vs.                        *       Case No. 1:21-cr-00028-APM-2
                                                  *
DONOVAN CROWL                                     *
         Defendant                                *
                                                  *

                                               ooOoo

            DONOVAN CROWL’S REPLY TO GOVERNMENT’S OPPOSITION


I.      KEY RELEVANT FACTS REGARDING MR. CROWL’S PARTICIPATION
        IN THE EVENTS OF JANUARY 6, 2021 REMAIN THE SAME AND
        SUPPORT PRETRIAL RELEASE

        !           Mr. Crowl did not damage any property.

        !           Mr. Crowl did not injure anyone.

        !           Mr. Crowl did not bring any firearms or other weapons to the Capitol

That is the truth. And is the primary reason why Mr. Crowl does not present a danger to society or

a risk of flight.

        Those key facts have been admitted by the United States in an email to defense counsel on

March 12, 2021 and repeated in various hearings in this case. As such, they are ‘admissions’ by a

party opponent, pursuant to FED . R. EVID . 801(d)(2), and are not as the Government contends an

attempt by Mr. Crowl to “wholly minimize[ ] his conduct.” Gov Opp (ECF 103) at 16).

        Other key facts, which this Court has looked to in making the individualized decision to

detain or release the defendants in this case are also not disputed.
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       !        Mr. Crowl did not participate in any organizational or leadership
                activities and Did Not Use Encrypted Communication Applications

                "      No Signal chats

                "      No Zello communications

                "      No planning calls

       The Government’s reliance on a several Facebook message asking him to help a couple of

guys who wanted to travel to DC is not evidence of organizational or leadership activities. All the

messages to Mr. Crowl are from the same person, a childhood friend of Mr. Crowl’s and fellow

Marine veteran. As the texts show, the child-hood friend reached out to Mr. Crowl on behalf of two

other Marines. The friend closes by referencing the Marine motto Semper Fi. This was not about

leadership in the charged conspiracy. This was about one Marine honoring his duty to his friend,

another Marine.1

       !        Mr. Crowl did not attend a training session in December 2020

       Significantly, the Affidavit in Support of the Complaint and the Second Superseding

Indictment allege as a key Overt Act in the conspiracy that Mr. Crowl attended a training session

in December 2020.2 The Government’s lengthy opposition to Mr. Crowl’s Motion for pretrial

release does not address this glaring error, which was pointed out by Mr. Crowl in his bail review



       1
         “Marines live by a set of enduring core values that form the bedrock of our character. These
values guide our actions and bolster our resolve. Honor, courage and commitment lead us to victory
over the physical, mental and moral battles faced during combat, or while serving in our
communities on behalf of our Nation. These are the values that ensure every fight in current and
future       battles         supports          our      common           moral        cause.”
https://www.marines.com/life-as-a-marine/standards/values.html
       2
        “On December 12-13, 2020, CROWL attended a training camp in North Carolina.” Second
Superseding Indictment (ECF 77) at ¶ 33.

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motion. (ECF 92 at 6). Multiple contemporary text messages produced in discovery reflect that Mr.

Crowl was in Ohio working on those dates.

       !        Mr. Crowl is not a member of the “Oath Keepers”

       The only oath that Mr. Crowl has taken in his life is the oath to defend and protect our

country and our Constitution, which he took as a 17-year old when he joined the United States

Marine Corps. His service is worth repeating because it is a proud achievement in his life and

follows the sacrifice of every generation of his family dating back to Bunker Hill. His entry into the

Capitol on January 6, did not dishonor that oath. He helped others who were hurt on that day; he did

not injure or damage anything or anyone. He did not enter to seek to disrupt the Congress and in

fact, could not have done so as the Congress had suspended its functions at 2:20 p.m., a full 20

minutes before he entered the Capitol.

       There is not a single text message or other statement by Mr. Crowl that the Government has

presented which supports its claim that he intended to obstruct the work of Congress. He left the

Capitol voluntarily within minutes after entry.3

       He has not paid any dues and has not submitted a written application to the Oath Keepers as

other defendants in this case have. While he wore an Oath Keeper patch on January 6, he did so as

a non-member, part of a security operation, which he believed he was carrying out.

       Significantly, in its discussion of the Oath Keepers, the Government seeks to taint Mr. Crowl

with conduct that he did not commit or otherwise adopt. This passage from its Opposition

exemplifies the flaw in much of the Government’s memorandum:

       3
         While the Government has yet to produce images from the CCTV cameras located inside
the Capitol which would indicate when Mr. Crowl left the Capitol, it is believed that he was not
within the Capitol for more than ½ hour.

                                                   3
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               Many of the individuals in Defendant Crowl’s group, including
               Defendant Crowl, wore patches and clothing with logos and insignia
               of an organization known as the “Oath Keepers.” A close-up view of
               the badges on the vest of one of these individuals, seen just under the
               Oath Keepers emblem on his shirt, displays the Oath Keepers motto,
               “Not On Our Watch.” The badge also says, “I don’t believe in
               anything. I’m just here for the violence.”

ECF 103 at 3. The Government goes so far as to include an image of the badge that references

violence. Id. at 4. Yet, nowhere in the Memorandum does the Government point out to the Court

that Mr. Crowl did not wear the badge that states “I’m just here for the violence.”

       Similarly, the Government spends a considerable amount of time in its memorandum

referencing comments made by Person One, who has been identified as Stuart Rhodes the Oath

Keepers’ founder. However, nowhere in its many references does the government allege that Mr.

Crowl was privy to any of the comments which the Government attributes to Rhodes, who has not

even been charged as a codefendant in this case.

       Mr. Crowl did not go hunting for Antifa as the Government references in citing a facebook

message sent by Mr. Crowl. While that text is provocative, the relevance of the text to the issues

before the Court is that on January 6, Mr. Crowl stated his plan was to go “the W.H. in the am and

early afternoon.” He makes no mention of storming the Capitol to impede the counting of the votes

in that contemporaneous account. Moreover, Mr. Caldwell, whom the Court has released was the

one who first referenced hunting Antifa. Antifa is an apparent preoccupation by some, including

unfortunately then-President Donald Trump and even then-Attorney General Barr. However, a

preoccupation with Anfifa is not an element of or relevant to any offense charged in this case or

other issue before this Court.




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       !       Mr. Crowl did not obstruct justice

               "       did not destroy evidence

               "       did not delete texts, social media accounts or posts

               "       did not discard clothing

       In fact, Mr. Crowl assisted authorities in locating his cell phone. After he turned himself in

to Ohio authorities, federal law enforcement authorities were unable to locate his cell phone and a

Task Force Officer went to the detention facility where Mr. Crowl was being held to ask whether a

particular phone was Mr. Crowl’s. While he could have remained silent or lied as many detainees

do, Mr. Crowl explained to the officer that the phone in the officer’s possession was Ms. Watkins’

not his. Mr. Crowl further explained to the officer that he indeed had a cell phone, which “probably

fell out in Montana’s car when they were getting out at the police station.” FBI 302, Bates Crowl

#000018. As a result of Mr. Crowl’s information, agents were able to locate his phone. The

Government has since extracted all the information from Mr. Crowl’s cell phone.

       Moreover, the Government’s attempt to claim that Mr. Crowl is a risk of flight because he

               ditched an identifying piece of his battle gear at the home of an
               acquaintance and traveled to the home of co-defendant Caldwell who
               directed him not to communicate over the phone and to double back
               on the highway to avoid being followed

is ludicrous. The location where Mr. Crowl left his clothing was the place where he has been living

in for nearly a year, a barn converted to accommodate a living space. It is difficult to believe that

the Government is not aware of that fact as they searched the location with the permission of the

owner, a woman who has been a close friend of Mr. Crowl for nearly a dozen years. The location

is the address that Mr. Crowl gave to the Pretrial Services Officer in Ohio. It is the location where



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Mr. Crowl also left the rest of his “stuff” to include his clothes, his carpentry tools, and his cats

because that is where he was living.

       It is quizzical that the Government is making the argument that because Mr. Caldwell, whom

the Court has released pretrial, gave Mr. Crowl instructions to be evasive, it is Mr. Crowl who

presents a risk of flight rather than the person giving the instructions.

       The argument that Mr. Crowl was prepared to engage in guerilla warfare along the lines of

the Vietcong is frankly insulting given the fact that Mr. Crowl is the son and nephew of Vietnam

War veterans. Whatever crazy talk Ms. Watkins was engaged in by referencing a bug out plan is

belied by the reality of events. Neither Ms. Watkins nor Mr. Crowl went anywhere but to the home

of Mr. Caldwell to avoid the media attention, which was hounding them and their relatives. Notably,

when they learned that they were being sought for questioning by the FBI, Ms. Watkins and Mr.

Crowl did not head for the hills. They promptly returned home and turned themselves in to local

Ohio authorities.

       !       Mr. Crowl turned himself in to authorities

       In sum, Mr. Crowl is not a threat to society and is not a risk of flight.

II.    MR. CROWL’S MEDICAL CONDITIONS IS A COMPELLING REASON
       FOR RELEASE UNDER 18 U.S.C. § 3142(i)

       Moreover, in addition to all the facts and arguments he is receiving no medical treatment for

melanoma. That in itself is a basis for granting his pretrial release under 18 U.S.C. § 3142(i) which

provides that a “judicial officer may . . . permit the temporary release of the person, in the custody

of a United States marshal or another appropriate person, to the extent that the judicial officer

determines such release to be necessary for preparation of the person’s defense or for another



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compelling reason.” 18 U.S.C. 3142(i) (emphasis added). As the Court is well aware, a number of

judges in this district have granted release under § 3142(i) during the pandemic. For someone like

Mr. Crowl, the lack of treatment he is receiving coupled with the health risks associated with the

pandemic are sufficient independent grounds under § 3142(i) to grant release.

       On every measure that the Court has used to release some defendants and detain others, Mr.

Crowl’s conduct and life tips in favor of release.

III.   THE BAIL REFORM ACT

       As set out in Mr. Crowl’s Motion for Reconsideration of Detention Order, the only charged

offense that triggers a detention hearing is the Section 1361 offense. But the failure of the

Government to show that Mr. Crowl caused any damage to the Capitol negates § 1361 as basis for

detention because it fails to satisfy the second prong of 18 U.S.C. § 3142(f)(1)(A), which requires

that the offense carry a statutory maximum penalty of 10 years’ imprisonment. If the property

damage under § 1361 does not exceed $1000, the offense would not meet the second prong.

       The Government’s recent argument that the Court should not consider the damage valuation

is wrong. See Kaley v. United States, 571 U.S. 320, 349 (2014):

               in the bail context – the pretrial determination that is perhaps the
               closest analogue to the pretrial restraint of assets at issue here – we
               allow judicial inquiries into the underlying merits of the indicted
               charges, without concern about intruding into the province of the
               grand jury. An indictment charging sufficiently serious crimes gives
               rise to a rebuttable presumption that a defendant is not eligible for
               pretrial release. See 18 U.S.C. §§ 3142(e)(3) and (f). Such a
               defendant is nonetheless entitled to an evidentiary hearing at which
               he may contest (among other things) “the weight of the evidence
               against” him, § 3142(g)(2). Yet no one would say that the district
               court encroached on the grand jury's role if the court determined that
               it would not authorize pretrial detention because of the weakness of
               the prosecution's case. See, e.g., United States v. Hurtado, 779 F.2d


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               1467, 1479–1480 (11th Cir. 1985) (recognizing that in considering the
               “weight of the evidence” to decide whether the presumption is
               rebutted, “it may well be necessary to open up the issue of probable
               cause since that too is a question of evidentiary weight”). That makes
               sense, because the district court has considered the underlying merits
               of the charges based on different information and for a different
               purpose than the grand jury did. Such a defendant would be granted
               pretrial release, but would still have to show up for trial.


       Perhaps recognizing the weakness of its argument on the § 1361 damages, the Government

now seeks to argue that § 1361 also supports detention in the first instance because it is a “crime of

violence” as the term is defined in 18 U.S.C. § 3156(a)(4)(A). This argument is legally incorrect.

Section 3156(a) (4)(A) defines “crime of violence” as

               (A) an offense that has as an element of the offense the use, attempted
               use, or threatened use of physical force against the person or property
               of another

In Curtis Johnson, the Supreme Court defined “physical force” as “violent force – that is, force

capable of causing physical pain or injury to another person.” 559 U.S. at 140. . . .And, it continued,

“[e]ven tangible property can be injured without using violent force. For example, a vintage car can

be injured by a mere scratch, and a collector's stamp can be injured by tearing it gently.” United

States v. Curtis Johnson, 559 U.S. 133, 140 (2010). But § 1361 can be violated without use of

physical force. See United States v. Bowen, 936 F.3d 1091, 1104 (10th Cir. 2019) (“ We agree with

Bowen that property “crimes of violence” under § 924(c)(3)(A) are those that include “violent

force,” Curtis Johnson, 559 U.S. at 140, not merely those that “injur[e] ... property,” United States

v. Hill (Hill II), 890 F.3d 51, 58 (2d Cir. 2018). And we easily conclude that the act of

spray-painting another's car does not entail the use of violent force.”).

       Thus, under the categorical approach § 1361 can never qualify as a “crime of violence”


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because “depredation” of property is an indivisible element that can be satisfied by non-violent

means- such as spray painting.4

       Under all the facts of this case, § 1361 does not give rise to an offense subject to detention

in the first instance under the Bail Reform Act.

                                          CONCLUSION

                The United States Attorney is the representative not of an ordinary
                party to a controversy, but of a sovereignty whose obligation to
                govern impartially is as compelling as its obligation to govern at all;
                and whose interest, therefore, in a criminal prosecution is not that it
                shall win a case, but that justice shall be done. As such, he is in a
                peculiar and very definite sense the servant of the law, the two-fold
                aim of which is that guilt shall not escape or innocence suffer. He
                may prosecute with earnestness and vigor – indeed, he should do so.
                But, while he may strike hard blows, he is not at liberty to strike foul
                ones. It is as much his duty to refrain from improper methods
                calculated to produce a wrongful conviction as it is to use every
                legitimate means to bring about a just one.’

Berger v. United States, 295 U.S. 78, 88 (1935).

       With all due respect to the Government, which finds itself trying prosecute a large number

of cases for true acts of violence and depredation of property, Mr. Crowl is not one of the persons

who hurt any law enforcement officer or other person on January 6, 2021. He did not damage any

property. He had no intent to overthrow the United States Government or impede the work of the

United States Congress and did not conspire to do so. He should be judged on his conduct not on

the conduct of others.



       4
          Several cases show § 1361 offenses can be prosecuted for acts that do not involve violent
means. See, e.g., U.S. v. Albertini, 472 U.S. 675, 677 (1985)(noting that events underlying the case
involved a § 1361 prosecution for destroying documents by pouring animal blood on them; United
States v. Mastropierro, 931 F.2d 905, 906 (D.C. Cir. 1991) (§ 1361 prosecution for defacing the US
Capitol during a demonstration for the homeless by throwing human blood on the Capitol).

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       For all these reasons, and any that may become apparent at a hearing on this matter, Mr.

Crowl respectfully submits that the Government has failed to meet its burden by clear and

convincing evidence that he presents a risk of danger to society and by a preponderance of the

evidence that he is a risk of flight. Wherefore, he respectfully requests that this Honorable Court

release him on high intensity supervision.

                                                       Respectfully submitted,


                                                       /s/ Carmen D. Hernandez
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                                 CERTIFICATE OF SERVICE

       I hereby certify that the instant notice was served on all counsel of record 26th day of March,
2021 on all counsel of record via ECF.



                                                       /s/ Carmen D. Hernandez
                                                       Carmen D. Hernandez




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